          Case 6:11-bk-25782-MH                     Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                         Desc
                                                    Main Document    Page 1 of 49


                                STATEMENT OF RELATED CASES
                    INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A that was filed with any such prior proceeding(s).)
               None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A that was filed with any such prior proceeding(s).)
               None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A
   that was filed with any such prior proceeding(s).)
               GCD Investments, LLC
               Case # 6:11-bk-14261-CB

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending,
   and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed
   with any such prior proceeding(s).)
               None

I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at        Irvine                                          , California.                     /s/ Clayton C. Hawranik
                                                                                                     Clayton C. Hawranik
Dated              May 27, 2011                                                                      Debtor

                                                                                                     /s/ Rupali Hawranik
                                                                                                     Rupali Hawranik
                                                                                                      Joint Debtor




                            This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                                F 1015-2.1
         Case 6:11-bk-25782-MH                     Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                  Desc
                                                   Main Document    Page 2 of 49
B201 - Notice of Available Chapters (Rev. 12/08)                                                        USBC, Central District of California

Name:      Rajiv Jain 231273
Address:   9891 Irvine Center Drive, Ste. 110
           Irvine, CA 92618
Telephone: 949-379-7165                 Fax:            949-379-7163

     Attorney for Debtor
     Debtor in Pro Per
                                          UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
List all names including trade names, used by Debtor(s) Case No.: 6:11-bk-25782
within last 8 years:
Clayton C. Hawranik
Rupali Hawranik
                                                                                   NOTICE OF AVAILABLE
                                                                                        CHAPTERS
                                                                       (Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code)

In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes briefly
the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.
You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an attorney
to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.
Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in your
address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists the
same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed from
the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse receive a
separate copy of all notices.
1.       Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
         relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling
         and provides assistance in performing a budget analysis. The briefing must be given within 180 days before the
         bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on
         the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee
         or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and
         credit counseling agencies. Each debtor in a joint case must complete the briefing.
         In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
         instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
         instructional courses. Each debtor in a joint case must complete the course.
2.       The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         1.   Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
              whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be
              permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence and
              family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under §
              707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         2.   Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
              take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         3.   The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
              committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and,
              if it does, the purpose for which you filed the bankruptcy petition will be defeated.
         Case 6:11-bk-25782-MH                     Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                            Desc
                                                   Main Document    Page 3 of 49
B201 - Notice of Available Chapters (Rev. 12/08)                                                    USBC, Central District of California

         4.   Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
              be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and
              property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which
              are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
              vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from
              fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that
              the debt is not discharged.
         Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
         $39 administrative fee: Total fee $274)
         1.   Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
              over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in
              the Bankruptcy Code.
         2.   Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
              using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
              depending upon your income and other factors. The court must approve your plan before it can take effect.
         3.   After completing the payments under your plan, your debts are generally discharged except for domestic support
              obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
              properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long
              term secured obligations.
         Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
         complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

         Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
         and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
         from a family-owned farm or commercial fishing operation.
3.       Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
         orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied
         by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office
         of the United States Trustee, the Office of the United States Attorney, and other components and employees of the
         Department of Justice.
WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

Certificate of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read this notice.
Clayton C. Hawranik
Rupali Hawranik                                                       X /s/ Clayton C. Hawranik                        May 27, 2011
Printed Name of Debtor                                                  Signature of Debtor                            Date

Case No. (if known) 6:11-bk-25782                                     X /s/ Rupali Hawranik                            May 27, 2011
                                                                        Signature of Joint Debtor (if any)             Date
               Case 6:11-bk-25782-MH                         Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                          Desc
                                                             Main Document    Page 4 of 49
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                  Central District of California
 In re          Clayton C. Hawranik,                                                                      Case No.     6:11-bk-25782
                Rupali Hawranik
                                                                                                    ,
                                                                                   Debtors                Chapter                        7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1               1,200,000.00


B - Personal Property                                     Yes             3                    3,700.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                      1,915,084.03


E - Creditors Holding Unsecured                           Yes             1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             6                                         824,357.12
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       4,300.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       5,066.64
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                18


                                                                    Total Assets          1,203,700.00


                                                                                     Total Liabilities           2,739,441.15




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                Case 6:11-bk-25782-MH                        Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                             Desc
                                                             Main Document    Page 5 of 49
Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                  Central District of California
 In re           Clayton C. Hawranik,                                                                         Case No.   6:11-bk-25782
                 Rupali Hawranik
                                                                                                          ,
                                                                                       Debtors                Chapter                     7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)

             Student Loan Obligations (from Schedule F)

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)

                                                                            TOTAL


             State the following:

             Average Income (from Schedule I, Line 16)


             Average Expenses (from Schedule J, Line 18)

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column

             4. Total from Schedule F


             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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              Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                            Desc
                                                             Main Document    Page 6 of 49
B6A (Official Form 6A) (12/07)


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 In re         Clayton C. Hawranik,                                                                          Case No.   6:11-bk-25782
               Rupali Hawranik
                                                                                                 ,
                                                                                   Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

Primary Residence                                                                                    C                  700,000.00                955,084.03
Location: 41595 Rowland Court, Temecula CA
92592

Commercial Investment Property located at:                               Fee simple                  C                  500,000.00                960,000.00
25775 Jefferson Ave., Murrieta, CA 92562




                                                                                                 Sub-Total >        1,200,000.00           (Total of this page)

                                                                                                         Total >    1,200,000.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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              Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                 Desc
                                                             Main Document    Page 7 of 49
B6B (Official Form 6B) (12/07)


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 In re         Clayton C. Hawranik,                                                                              Case No.       6:11-bk-25782
               Rupali Hawranik
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Checking Account                                                  C                            700.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Household Goods and Furnishings                                   C                         1,500.00
      including audio, video, and                         Location: 41595 Rowland Court, Temecula CA
      computer equipment.                                 92592

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Personal Clothing                                                 C                            500.00
                                                          Location: 41595 Rowland Court, Temecula CA
                                                          92592

7.    Furs and jewelry.                                   Jewelry                                                           C                         1,000.00
                                                          Location: 41595 Rowland Court, Temecula CA
                                                          92592

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.


                                                                                                                            Sub-Total >             3,700.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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              Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                 Desc
                                                             Main Document    Page 8 of 49
B6B (Official Form 6B) (12/07) - Cont.




 In re         Clayton C. Hawranik,                                                                              Case No.       6:11-bk-25782
               Rupali Hawranik
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   60% Ownership in SRS Engineering Corporation.                     C                       Unknown
    and unincorporated businesses.                        Business is closing down
    Itemize.
                                                          60% Ownership Interest in GCD Investments, LLC.                   C                       Unknown
                                                          Business has filed a Chapter 7 bankruptcy.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                            Sub-Total >                   0.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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              Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                 Desc
                                                             Main Document    Page 9 of 49
B6B (Official Form 6B) (12/07) - Cont.




 In re         Clayton C. Hawranik,                                                                              Case No.      6:11-bk-25782
               Rupali Hawranik
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                X
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.


                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >           3,700.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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               Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                                Desc
                                                              Main Document    Page 10 of 49
 B6C (Official Form 6C) (4/10)


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  In re         Clayton C. Hawranik,                                                                                    Case No.         6:11-bk-25782
                Rupali Hawranik
                                                                                                            ,
                                                                                        Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                   $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                        with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                          Value of                 Current Value of
                  Description of Property                                          Each Exemption                              Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking Account                                  C.C.P. § 703.140(b)(5)                                                                700.00                            700.00

Household Goods and Furnishings
Household Goods and Furnishings                                           C.C.P. § 703.140(b)(3)                                      1,500.00                         1,500.00
Location: 41595 Rowland Court, Temecula CA
92592

Wearing Apparel
Personal Clothing                                                         C.C.P. § 703.140(b)(3)                                        500.00                            500.00
Location: 41595 Rowland Court, Temecula CA
92592

Furs and Jewelry
Jewelry                                                                   C.C.P. § 703.140(b)(4)                                      1,000.00                         1,000.00
Location: 41595 Rowland Court, Temecula CA
92592

Stock and Interests in Businesses
60% Ownership in SRS Engineering                                          C.C.P. § 703.140(b)(5)                                            0.00                     Unknown
Corporation. Business is closing down




                                                                                                            Total:                    3,700.00                         3,700.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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               Case 6:11-bk-25782-MH                            Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                          Desc
                                                                Main Document    Page 11 of 49
 B6D (Official Form 6D) (12/07)


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  In re         Clayton C. Hawranik,                                                                                      Case No.     6:11-bk-25782
                Rupali Hawranik
                                                                                                            ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H          DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W             NATURE OF LIEN, AND                         I    Q   U                             PORTION, IF
                                                        T   J           DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                 OF PROPERTY
                                                        R
                                                                            SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxx6166                                           First Mortgage                                             E
                                                                                                                           D

Bank of America                                                 Primary Residence
P.O. Box 5170                                                   Location: 41595 Rowland Court,
Simi Valley, CA 93062-5170                                      Temecula CA 92592
                                                            C

                                                                Value $                            700,000.00                           805,108.55               105,108.55
Account No. xxx-xxx-4008                                        08/2008

Resource Capital                                              Commercial Investment Property located
1050 Iron Point Road                                          at:
Folsom, CA 95630                                              25775 Jefferson Ave., Murrieta, CA
                                                            C 92562

                                                                Value $                            500,000.00                           480,000.00               460,000.00
Account No.                                                     Second Mortgage

Wells Fargo                                                     Primary Residence
P.O. Box 4233                                                   Location: 41595 Rowland Court,
Portland, OR 97208-4233                                         Temecula CA 92592
                                                            C

                                                                Value $                            700,000.00                           149,975.48               149,975.48
Account No. xxxxxx9002                                          08/2008

Zion National Bank                                            Commercial Investment Property located
One South Main Street                                         at:
5th Floor                                                     25775 Jefferson Ave., Murrieta, CA
                                                            C 92562
Salt Lake City, UT 84133

                                                                Value $                            500,000.00                           480,000.00                         0.00
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                    1,915,084.03               715,084.03
                                                                                                         (Total of this page)
                                                                                                                     Total            1,915,084.03               715,084.03
                                                                                           (Report on Summary of Schedules)

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              Case 6:11-bk-25782-MH                             Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                                   Desc
                                                                Main Document    Page 12 of 49
B6E (Official Form 6E) (4/10)


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 In re         Clayton C. Hawranik,                                                                                               Case No.            6:11-bk-25782
               Rupali Hawranik
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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               Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                              Desc
                                                              Main Document    Page 13 of 49
 B6F (Official Form 6F) (12/07)


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  In re         Clayton C. Hawranik,                                                                                     Case No.        6:11-bk-25782
                Rupali Hawranik
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxx-xxxxxx-x1000                                                 2008                                                          T   T
                                                                                                                                                E
                                                                              Guarantor for Business Credit Card                                D

Amercan Express
P.O. Box 981537                                                           C
El Paso, TX 79998

                                                                                                                                                                     65,000.00
Account No. xxxx-xxxxxx-x1006                                                 2008
                                                                              Guarantor for Business Credit Card
Amercan Express
P.O. Box 981537                                                           C
El Paso, TX 79998

                                                                                                                                                                      Unknown
Account No. xxxx-xxxxxx-x1002                                                 2008
                                                                              Guarantor for Business Credit Card
American Express
PO Box 981537                                                             C
El Paso, TX 79998

                                                                                                                                                                     22,000.00
Account No. xxxx2032                                                          07/2010
                                                                              Trade debt
BBI International
c/o Law Offices Goldsmith & Hull                                          C
16933 Parthenia Street
Suite 110
North Hills, CA 91343                                                                                                                                                23,019.56

                                                                                                                                        Subtotal
 5
_____ continuation sheets attached                                                                                                                                 110,019.56
                                                                                                                              (Total of this page)




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               Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                  Desc
                                                              Main Document    Page 14 of 49
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Clayton C. Hawranik,                                                                               Case No.    6:11-bk-25782
                Rupali Hawranik
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx-xxxx-xxxx-5668                                               2010                                                    E
                                                                              Credit card purchases                                   D

Capital One
PO Box 60024                                                              C
City Of Industry, CA 91716

                                                                                                                                                          2,500.00
Account No. xxx-xxx-6002                                                    08/2008
                                                                            Guarantor on Seconf Mortgage for property in
Colson Services                                                             the name of GCD Investments, LLC located at
101 Barclay Street                                                        C 25843 Jefferson Ave, Murrieta, CA 92562
8th Floor
New York, NY 10286
                                                                                                                                                         Unknown
Account No. xxx-xxx-6006                                                    08/2008
                                                                            Guarantor on Seconf Mortgage for property in
Colson Services                                                             the name of GCD Investments, LLC located at
101 Barclay Street                                                        C 25847 Jefferson Ave, Murrieta, CA 92562
8th Floor
New York, NY 10286
                                                                                                                                                         Unknown
Account No. xxx-xxx-6004                                                    06/2008
                                                                            Guarantor on Seconf Mortgage for property in
Colson Services                                                             the name of GCD Investments, LLC located at
101 Barclay Street                                                        C 25851 Jefferson Ave, Murrieta, CA 92562
8th Floor
New York, NY 10286
                                                                                                                                                         Unknown
Account No. xxxxx-x6-001                                                    05/2006
                                                                            Guarantor on First Mortgage for property in
GE Commercial                                                               the name of GCD Investments, LLC located at
901 Main Avenue                                                           C 25783 Jefferson Ave, Murrieta, CA 92562
Norwalk, CT 06851

                                                                                                                                                         Unknown

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          2,500.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                  Desc
                                                              Main Document    Page 15 of 49
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Clayton C. Hawranik,                                                                               Case No.    6:11-bk-25782
                Rupali Hawranik
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxx3839                                                        03/2011                                                 E
                                                                              Auto Lease Returned                                     D

Mercedes Benz Financial                                                       (Possible Deficiency)
PO Box 685                                                                C
Roanoke, TX 76262

                                                                                                                                                         Unknown
Account No. xxx-xxx-4005                                                    05/2006
                                                                            Guarantor on Second Mortgage for property in
Resource Capital                                                            the name of GCD Investments, LLC located at
1050 Iron Point Road                                                      C 25783 Jefferson Ave, Murrieta, CA 92562
Folsom, CA 95630

                                                                                                                                                         Unknown
Account No. xxxx-xxxx-xxxx-5481                                               Various
                                                                              Guarantor for Business Credit Card
Wells Fargo
PO Box 5445                                                               C
Portland, OR 97228-5445

                                                                                                                                                          9,208.24
Account No. xxxx-xxxx-xxxx-5003                                               Various
                                                                              Guarantor for Business Credit Card
Wells Fargo
P.O. Box 5445                                                             C
Portland, OR 97228-5445

                                                                                                                                                          1,633.59
Account No. xxxx-xxxx-xxxx-5499                                               Various
                                                                              Guarantor for Business Credit Card
Wells Fargo
P.O. Box 5445                                                             C
Portland, OR 97228-5445

                                                                                                                                                          1,057.11

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        11,898.94
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                  Desc
                                                              Main Document    Page 16 of 49
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Clayton C. Hawranik,                                                                               Case No.    6:11-bk-25782
                Rupali Hawranik
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx-xxxx-xxxx-8730                                               Various                                                 E
                                                                              Guarantor for Business Credit Card                      D

Wells Fargo
P.O. Box 5445                                                             C
Portland, OR 97228-5445

                                                                                                                                                        16,852.54
Account No. xxxx-xxxx-xxxx-0642                                               Various
                                                                              Guarantor for Business Credit Card
Wells Fargo
P.O. Box 5445                                                             C
Portland, OR 97228-5445

                                                                                                                                                          2,199.76
Account No. xxxx-xxxx-xxxx-5465                                               Various
                                                                              Guarantor for Business Credit Card
Wells Fargo
P.O. Box 5445                                                             C
Portland, OR 97228-5445

                                                                                                                                                          7,306.28
Account No. xxxx-xxxx-xxxx-5473                                               Various
                                                                              Guarantor for Business Credit Card
Wells Fargo
P.O. Box 5445                                                             C
Portland, OR 97228-5445

                                                                                                                                                          3,980.04
Account No. x-xxxxxx1922                                                      2008
                                                                              Gurantor for Business Line of Credit
Wells Fargo Business Direct Ops.
PO Box 348750                                                             C
Sacramento, CA 95834

                                                                                                                                                      531,000.00

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      561,338.62
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                  Desc
                                                              Main Document    Page 17 of 49
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Clayton C. Hawranik,                                                                               Case No.    6:11-bk-25782
                Rupali Hawranik
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxx9700                                                     2008                                                    E
                                                                              Gurantor for Business Line of Credit                    D

Wells Fargo Business Direct Ops.
PO Box 348750                                                             C
Sacramento, CA 95834

                                                                                                                                                        22,000.00
Account No. xxxxxxxxx9701                                                     2008
                                                                              Guarantor for Business Line of Credit
Wells Fargo Business Direct Ops.
PO Box 348750                                                             C
Sacramento, CA 95834

                                                                                                                                                        73,000.00
Account No.                                                                   2008
                                                                              Guarantor for Business Line of Credit
Wells Fargo Business Direct Ops.
PO Box 348750                                                             C
Sacramento, CA 95834

                                                                                                                                                        43,600.00
Account No. xxxxxxx9001                                                     08/2008
                                                                            Guarantor on First Mortgage for property in
Zion National Bank                                                          the name of GCD Investments, LLC located at
One South Main Street                                                     C 25843 Jefferson Ave, Murrieta, CA 92562
5th Floor
Salt Lake City, UT 84133
                                                                                                                                                         Unknown
Account No. xxxxxxx9005                                                     08/2008
                                                                            Guarantor on First Mortgage for property in
Zion National Bank                                                          the name of GCD Investments, LLC located at
One South Main Street                                                     C 25847 Jefferson Ave, Murrieta, CA 92562
5th Floor
Salt Lake City, UT 84133
                                                                                                                                                         Unknown

           4
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      138,600.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                         Desc
                                                              Main Document    Page 18 of 49
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Clayton C. Hawranik,                                                                                     Case No.     6:11-bk-25782
                Rupali Hawranik
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxxx9003                                                     06/2008                                                          E
                                                                            Guarantor on First Mortgage for property in                      D

Zion National Bank                                                          the name of GCD Investments, LLC located at
One South Main Street                                                     C 25851 Jefferson Ave, Murrieta, CA 92562
5th Floor
Salt Lake City, UT 84133
                                                                                                                                                                Unknown
Account No.




Account No.




Account No.




Account No.




           5
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                       0.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              824,357.12


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                  Case 6:11-bk-25782-MH                      Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                 Desc
                                                             Main Document    Page 19 of 49
B6G (Official Form 6G) (12/07)


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 In re             Clayton C. Hawranik,                                                                        Case No.      6:11-bk-25782
                   Rupali Hawranik
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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               Case 6:11-bk-25782-MH                         Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                         Desc
                                                             Main Document    Page 20 of 49
B6H (Official Form 6H) (12/07)


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 In re          Clayton C. Hawranik,                                                                    Case No.      6:11-bk-25782
                Rupali Hawranik
                                                                                              ,
                                                                            Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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          Case 6:11-bk-25782-MH                   Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                     Desc
                                                  Main Document    Page 21 of 49
B6I (Official Form 6I) (12/07)

          Clayton C. Hawranik
 In re    Rupali Hawranik                                                                               Case No.       6:11-bk-25782
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Daughter                                                    4
                                             Son                                                         5
Employment:                                               DEBTOR                                                   SPOUSE
Occupation
Name of Employer                     Self-Employed                                           Unemployed
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            0.00
2. Estimate monthly overtime                                                                             $          0.00          $            0.00

3. SUBTOTAL                                                                                              $              0.00      $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $              0.00      $             0.00
     b. Insurance                                                                                        $              0.00      $             0.00
     c. Union dues                                                                                       $              0.00      $             0.00
     d. Other (Specify):                                                                                 $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $              0.00      $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         4,300.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $             0.00
11. Social security or government assistance
(Specify):                                                                                               $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00
12. Pension or retirement income                                                                         $              0.00      $             0.00
13. Other monthly income
(Specify):                                                                                               $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         4,300.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         4,300.00       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            4,300.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
          Case 6:11-bk-25782-MH              Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                           Desc
                                             Main Document    Page 22 of 49
B6J (Official Form 6J) (12/07)

          Clayton C. Hawranik
 In re    Rupali Hawranik                                                                     Case No.    6:11-bk-25782
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                3,007.64
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                           $                   75.00
                   b. Water and sewer                                                                        $                   35.00
                   c. Telephone                                                                              $                   40.00
                   d. Other See Detailed Expense Attachment                                                  $                  386.00
3. Home maintenance (repairs and upkeep)                                                                     $                   75.00
4. Food                                                                                                      $                  700.00
5. Clothing                                                                                                  $                   50.00
6. Laundry and dry cleaning                                                                                  $                   50.00
7. Medical and dental expenses                                                                               $                   25.00
8. Transportation (not including car payments)                                                               $                  250.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                   75.00
10. Charitable contributions                                                                                 $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                   51.00
                   b. Life                                                                                   $                    0.00
                   c. Health                                                                                 $                  247.00
                   d. Auto                                                                                   $                    0.00
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                    0.00
                   b. Other                                                                                  $                    0.00
                   c. Other                                                                                  $                    0.00
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other                                                                                                    $                    0.00
    Other                                                                                                    $                    0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                5,066.64
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                4,300.00
b. Average monthly expenses from Line 18 above                                                               $                5,066.64
c. Monthly net income (a. minus b.)                                                                          $                 -766.64
          Case 6:11-bk-25782-MH    Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28       Desc
                                   Main Document    Page 23 of 49
B6J (Official Form 6J) (12/07)
          Clayton C. Hawranik
 In re    Rupali Hawranik                                           Case No.   6:11-bk-25782
                                                  Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                      Detailed Expense Attachment
Other Utility Expenditures:
Cell Phone                                                                     $                150.00
Trash Service                                                                  $                 40.00
Internet                                                                       $                 40.00
Cable TV                                                                       $                 75.00
Home Gas                                                                       $                 50.00
Alarm Service                                                                  $                 31.00
Total Other Utility Expenditures                                               $                386.00
            Case 6:11-bk-25782-MH                         Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                          Desc
                                                          Main Document    Page 24 of 49
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                 Central District of California
            Clayton C. Hawranik
 In re      Rupali Hawranik                                                                                  Case No.   6:11-bk-25782
                                                                                   Debtor(s)                 Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of             20
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date May 27, 2011                                                     Signature   /s/ Clayton C. Hawranik
                                                                                   Clayton C. Hawranik
                                                                                   Debtor


 Date May 27, 2011                                                     Signature   /s/ Rupali Hawranik
                                                                                   Rupali Hawranik
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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            Case 6:11-bk-25782-MH                         Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                    Desc
                                                          Main Document    Page 25 of 49
B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                 Central District of California
             Clayton C. Hawranik
 In re       Rupali Hawranik                                                                                   Case No.       6:11-bk-25782
                                                                                Debtor(s)                      Chapter        7


                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE




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            Case 6:11-bk-25782-MH                         Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                 Desc
                                                          Main Document    Page 26 of 49

                                                                                                                                                             2

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                     DATES OF                                                      AMOUNT STILL
       OF CREDITOR                                                       PAYMENTS                            AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                         DATES OF                                  PAID OR
                                                                         PAYMENTS/                               VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                         TRANSFERS                              TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT                     AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF         COURT OR AGENCY                                 STATUS OR
    AND CASE NUMBER                                                    PROCEEDING        AND LOCATION                                    DISPOSITION
    American Express v. Clayton Hawranik; SRS                          Collection        Superior Cout of California, County of          Pending
    Engineering Corporation                                                              Riverside
    Case # RIC10016781                                                                   Riverside Courthouse
    BBI International v. Clayton Hawranik; SRS                         Contract          Superior Court of California, County of         Judgment
    Engineering Corporation                                                              Riverside
    Case # RIC10014654                                                                   Riverside Courthouse
    Wells Fargo v. Clayton Hawranik; Rupali                            Collection        Superior Court of California, County of         Pending
    Hawranik; SRS Engineering Corporation                                                Riverside
    Case # RIC 11071981                                                                  Riverside Courthouse

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

    NAME AND ADDRESS OF PERSON FOR WHOSE                                                     DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                     DATE OF SEIZURE              PROPERTY



*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                               Desc
                                                          Main Document    Page 27 of 49

                                                                                                                                                           3

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                    LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                             BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                              AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                       OR DESCRIPTION AND VALUE
     OF PAYEE                                                                THAN DEBTOR                                   OF PROPERTY
Jain & Soo-Hoo, PC, dba Bankruptcy Law G                               05/02/11                                    $1,701.00
9891 Irvine Center Drive, Ste. 110
Irvine, CA 92618




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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                 Desc
                                                          Main Document    Page 28 of 49

                                                                                                                                                              4

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY


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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                               Desc
                                                          Main Document    Page 29 of 49

                                                                                                                                                           5

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.




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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                 Desc
                                                          Main Document    Page 30 of 49

                                                                                                                                                             6


                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                            RECORDS




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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                   Desc
                                                          Main Document    Page 31 of 49

                                                                                                                                                              7

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)




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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                       Desc
                                                          Main Document    Page 32 of 49

                                                                                                                                                                   8

                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date May 27, 2011                                                      Signature   /s/ Clayton C. Hawranik
                                                                                   Clayton C. Hawranik
                                                                                   Debtor


Date May 27, 2011                                                      Signature   /s/ Rupali Hawranik
                                                                                   Rupali Hawranik
                                                                                   Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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            Case 6:11-bk-25782-MH                         Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                        Desc
                                                          Main Document    Page 33 of 49

B8 (Form 8) (12/08)
                                                          United States Bankruptcy Court
                                                                 Central District of California
            Clayton C. Hawranik
 In re      Rupali Hawranik                                                                               Case No.    6:11-bk-25782
                                                                                  Debtor(s)               Chapter     7


                              CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                  Describe Property Securing Debt:
 Bank of America                                                                   Primary Residence
                                                                                   Location: 41595 Rowland Court, Temecula CA 92592

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain .... (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                  Describe Property Securing Debt:
 Resource Capital                                                                  Commercial Investment Property located at:
                                                                                   25775 Jefferson Ave., Murrieta, CA 92562

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt




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            Case 6:11-bk-25782-MH                         Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                       Desc
                                                          Main Document    Page 34 of 49

B8 (Form 8) (12/08)                                                                                                                      Page 2
 Property No. 3

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Wells Fargo                                                                      Primary Residence
                                                                                  Location: 41595 Rowland Court, Temecula CA 92592

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain .... (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Zion National Bank                                                               Commercial Investment Property located at:
                                                                                  25775 Jefferson Ave., Murrieta, CA 92562

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                           Describe Leased Property:                   Lease will be Assumed pursuant to 11
 -NONE-                                                                                               U.S.C. § 365(p)(2):
                                                                                                         YES              NO




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            Case 6:11-bk-25782-MH                         Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28       Desc
                                                          Main Document    Page 35 of 49

B8 (Form 8) (12/08)                                                                                                      Page 3

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date May 27, 2011                                                     Signature   /s/ Clayton C. Hawranik
                                                                                   Clayton C. Hawranik
                                                                                   Debtor


 Date May 27, 2011                                                     Signature   /s/ Rupali Hawranik
                                                                                   Rupali Hawranik
                                                                                   Joint Debtor




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          Case 6:11-bk-25782-MH                   Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                            Desc
                                                  Main Document    Page 36 of 49

Form B203 - Disclosure of Compensation of Attorney for Debtor - (1/88)                               1998 USBC, Central District of California

                                           UNITED STATES BANKRUPTCY COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
In re                                                                      Case No.: 6:11-bk-25782
     Clayton C. Hawranik
     Rupali Hawranik
                                                                                  DISCLOSURE OF COMPENSATION
                                                                 Debtor.            OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and
     that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
     services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
     follows:
           For legal services, I have agreed to accept                                           $             1,701.00
           Prior to the filing of this statement I have received                                 $             1,701.00
           Balance Due                                                                           $                  0.00

2.   The source of the compensation paid to me was:

               Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

               Debtor             Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
          associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
          my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation is
          attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
         bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services
            Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
            any other adversary proceeding. Negotiations with secured creditors to reduce to market value; exemption
            planning; preparation and filing of reaffirmation agreements and applications as needed; preparation and filing
            of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.

                                                                  CERTIFICATION

    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
debtor(s) in this bankruptcy proceeding.

          May 27, 2011                                             /s/ Rajiv Jain
          Date                                                     Rajiv Jain 231273
                                                                   Signature of Attorney
                                                                   Jain & Soo-Hoo, PC, dba Bankruptcy Law Group
                                                                   Name of Law Firm
                                                                   9891 Irvine Center Drive, Ste. 110
                                                                   Irvine, CA 92618
                                                                   949-379-7165 Fax: 949-379-7163
            Case 6:11-bk-25782-MH                           Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                             Desc
                                                            Main Document    Page 37 of 49
 Attorney or Party Name, Address, Telephone & FAX Number, and California State Bar No.                            FOR COURT USE ONLY
 Rajiv Jain
 9891 Irvine Center Drive, Ste. 110
 Irvine, CA 92618
 949-379-7165 Fax: 949-379-7163
 California State Bar No.: 231273
 Attorney for Debtor

                      UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 In re:
                                                                                                                  CHAPTER            7
 Clayton C. Hawranik
 Rupali Hawranik                                                                                                  CASE NUMBER 6:11-bk-25782


                                                                                                        Debtor.                      (No Hearing Required)


                                          DECLARATION RE: LIMITED SCOPE OF APPEARANCE
                                           PURSUANT TO LOCAL BANKRUPTCY RULE 2090-1
TO THE COURT, THE DEBTOR, THE TRUSTEE (if any), AND THE UNITED STATES TRUSTEE:
1.         I am the attorney for the Debtor in the above-captioned bankruptcy case.
2.         On (specify date) 05/02/11 , I agreed with the Debtor that for a fee of $ 1,701.00 , I would provide only the
           following services:

           a.             Prepare and file the Petition and Schedules

           b.             Represent the Debtor at the 341(a) Hearing
           c.             Represent the Debtor in any relief from stay actions
           d.             Represent the Debtor in any proceeding involving an objection to Debtor’s discharge pursuant to 11
                          U.S.C. § 727
           e.             Represent the Debtor in any proceeding to determine whether a specific debt is nondischargeable under
                          11 U.S.C. § 523
           f.             Other (specify):


3.         I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and
           correct and that this declaration was executed on the following date at the city set forth in the upper left-hand
           corner of this page.

 Dated:         May 27, 2011                                                                                Jain & Soo-Hoo, PC, dba Bankruptcy Law Group
                                                                                                            Law Firm Name

 I HEREBY APPROVE THE ABOVE:
                                                                                                            By:           /s/ Rajiv Jain

 /s/ Clayton C. Hawranik                                                                                    Name:         Rajiv Jain 231273
 Signature of Debtor                                                                                                                Attorney for Debtor
 /s/ Rupali Hawranik
 Signature of Joint Debtor




Rev. 1/01 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California              F 2090-1.1
          Case 6:11-bk-25782-MH             Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                             Desc
                                            Main Document    Page 38 of 49
February 2006                                                                                   2006 USBC Central District of California
                                            United States Bankruptcy Court
                                                 Central District of California
          Clayton C. Hawranik
 In re    Rupali Hawranik                                                                  Case No.     6:11-bk-25782
                                                                 Debtor(s)                 Chapter      7



                     DEBTOR'S CERTIFICATION OF EMPLOYMENT INCOME
                         PURSUANT TO 11 U.S.C. § 521 (a)(1)(B)(iv)
Please fill out the following blank(s) and check the box next to one of the following statements:

I, Clayton C. Hawranik , the debtor in this case, declare under penalty of perjury under the laws of the United States of
America that:

            I have attached to this certificate copies of my pay stubs, pay advices and/or other proof of employment income
            for the 60-day period prior to the date of the filing of my bankruptcy petition.
            (NOTE: the filer is responsible for blacking out the Social Security number on pay stubs prior to filing them.)

            I was self-employed for the entire 60-day period prior to the date of the filing of my bankruptcy petition, and
            received no payment from any other employer.

            I was unemployed for the entire 60-day period prior to the date of the filing of my bankruptcy petition.


I, Rupali Hawranik , the debtor in this case, declare under penalty of perjury under the laws of the United States of
America that:

            I have attached to this certificate copies of my pay stubs, pay advices and/or other proof of employment income
            for the 60-day period prior to the date of the filing of my bankruptcy petition.
            (NOTE: the filer is responsible for blacking out the Social Security number on pay stubs prior to filing them.)

            I was self-employed for the entire 60-day period prior to the date of the filing of my bankruptcy petition, and
            received no payment from any other employer.

            I was unemployed for the entire 60-day period prior to the date of the filing of my bankruptcy petition.



Date May 27, 2011                                    Signature   /s/ Clayton C. Hawranik
                                                                 Clayton C. Hawranik
                                                                 Debtor


Date May 27, 2011                                    Signature   /s/ Rupali Hawranik
                                                                 Rupali Hawranik
                                                                 Joint Debtor
           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                   Desc
                                                          Main Document    Page 39 of 49
  B22A (Official Form 22A) (Chapter 7) (12/10)

       Clayton C. Hawranik
In re  Rupali Hawranik                                                             According to the information required to be entered on this statement
                          Debtor(s)                                                  (check one box as directed in Part I, III, or VI of this statement):
Case Number:   6:11-bk-25782                                                               The presumption arises.
                     (If known)
                                                                                           The presumption does not arise.
                                                                                           The presumption is temporarily inapplicable.


                              CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                        AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I applies,
joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate statements if they
believe this is required by § 707(b)(2)(C).

                                             Part I. MILITARY AND NON-CONSUMER DEBTORS
            Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
            Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
            VIII. Do not complete any of the remaining parts of this statement.
    1A
               Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
            38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
            101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
            Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B      Do not complete any of the remaining parts of this statement.
                Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
            Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
            Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
            2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
            at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
            days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
            required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
            temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
            are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
            which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
            before your exclusion period ends.
               Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C      that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
            National Guard

                                   a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                    I remain on active duty /or/
                                                    I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                   filed;

                                                OR

                                   b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                          I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                        540 days before this bankruptcy case was filed.




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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                             Desc
                                                          Main Document    Page 40 of 49
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                          2

                      Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
            a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
            b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
               "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2         purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
               for Lines 3-11.
            c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
               ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
            d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
            All figures must reflect average monthly income received from all sources, derived during the six Column A        Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's       Spouse's
            six-month total by six, and enter the result on the appropriate line.                              Income          Income

     3      Gross wages, salary, tips, bonuses, overtime, commissions.                                         $             0.00 $                0.00
            Income from the operation of a business, profession or farm. Subtract Line b from Line a and
            enter the difference in the appropriate column(s) of Line 4. If you operate more than one
            business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
            not enter a number less than zero. Do not include any part of the business expenses entered on
     4      Line b as a deduction in Part V.
                                                                        Debtor                 Spouse
             a.     Gross receipts                               $           4,282.00 $                 0.00
             b.     Ordinary and necessary business expenses $                   0.00 $                 0.00
             c.     Business income                              Subtract Line b from Line a                 $          4,282.00 $                 0.00
            Rents and other real property income. Subtract Line b from Line a and enter the difference in
            the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
            part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                Debtor                Spouse
             a.    Gross receipts                              $                0.00 $                0.00
             b.    Ordinary and necessary operating expenses $                  0.00 $                0.00
             c.    Rent and other real property income         Subtract Line b from Line a                     $             0.00 $                0.00
     6      Interest, dividends, and royalties.                                                                $             0.00 $                0.00
     7      Pension and retirement income.                                                                     $             0.00 $                0.00
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     8      purpose. Do not include alimony or separate maintenance payments or amounts paid by your
            spouse if Column B is completed. Each regular payment should be reported in only one column;
            if a payment is listed in Column A, do not report that payment in Column B.                        $             0.00 $                0.00
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $            0.00 Spouse $               0.00 $               0.00 $                0.00
            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Do not include alimony or separate maintenance payments paid by your
            spouse if Column B is completed, but include all other payments of alimony or separate
            maintenance. Do not include any benefits received under the Social Security Act or payments
            received as a victim of a war crime, crime against humanity, or as a victim of international or
    10      domestic terrorism.
                                                                       Debtor                   Spouse
             a.                                                  $                      $
             b.                                                  $                      $
            Total and enter on Line 10                                                                         $             0.00 $                0.00
    11      Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
            Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $              4,282.00 $                 0.00



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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                             Desc
                                                          Main Document    Page 41 of 49
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                          3

            Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12      Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
            the amount from Line 11, Column A.                                                                  $                           4,282.00

                                            Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13      Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
            enter the result.                                                                                                     $        51,384.00
            Applicable median family income. Enter the median family income for the applicable state and household size.
    14      (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
             a. Enter debtor's state of residence:                CA     b. Enter debtor's household size:           4            $        78,869.00
            Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15          The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
                top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                   Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                        Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16      Enter the amount from Line 12.                                                                                        $
            Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
            Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
            dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
            spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
            amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17      not check box at Line 2.c, enter zero.
             a.                                                                        $
             b.                                                                        $
             c.                                                                        $
             d.                                                                        $
            Total and enter on Line 17                                                                                            $
    18      Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $

                                      Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
            National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
            Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
   19A      at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the number
            that would currently be allowed as exemptions on your federal income tax return, plus the number of any
            additional dependents whom you support.                                                                              $
            National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
            Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
            Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
            www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
            who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
            older. (The applicable number of persons in each age category is the number in that category that would currently
            be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
   19B
            you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
            Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
            c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                         Persons under 65 years of age                         Persons 65 years of age or older
             a1.     Allowance per person                            a2.      Allowance per person
             b1.     Number of persons                               b2.      Number of persons
             c1.     Subtotal                                        c2.      Subtotal                                           $
            Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
            Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   20A      available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support.                                                                           $



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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                               Desc
                                                          Main Document    Page 42 of 49
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                            4

            Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
            Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
            available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   20B      debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do
            not enter an amount less than zero.
             a.    IRS Housing and Utilities Standards; mortgage/rental expense $
             b.    Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                               $
             c.    Net mortgage/rental expense                                      Subtract Line b from Line a.                    $
            Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
            20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21      Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
            contention in the space below:
                                                                                                                                    $
            Local Standards: transportation; vehicle operation/public transportation expense.
            You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
            vehicle and regardless of whether you use public transportation.
            Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
            included as a contribution to your household expenses in Line 8.
   22A
                  0     1       2 or more.
            If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
            Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
            Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
            Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
            Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
            for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B      you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
            Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
            court.)                                                                                                                $
            Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
            you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
            vehicles.)
                  1     2 or more.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
            Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
            the result in Line 23. Do not enter an amount less than zero.
             a.       IRS Transportation Standards, Ownership Costs                $
                      Average Monthly Payment for any debts secured by Vehicle
             b.       1, as stated in Line 42                                      $
             c.       Net ownership/lease expense for Vehicle 1                    Subtract Line b from Line a.                     $
            Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
            the "2 or more" Box in Line 23.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    24      Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
            the result in Line 24. Do not enter an amount less than zero.
             a.       IRS Transportation Standards, Ownership Costs                $
                      Average Monthly Payment for any debts secured by Vehicle
             b.       2, as stated in Line 42                                      $
             c.       Net ownership/lease expense for Vehicle 2                    Subtract Line b from Line a.                     $
            Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25      state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
            security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $




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               Case 6:11-bk-25782-MH                              Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                       Desc
                                                                  Main Document    Page 43 of 49
    B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                                          5

                Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
      26        deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
                Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $
                Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
      27        life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
                any other form of insurance.                                                                                                        $
                Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
      28        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
                include payments on past due obligations included in Line 44.                                                                       $
                Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
      29        the total average monthly amount that you actually expend for education that is a condition of employment and for
                education that is required for a physically or mentally challenged dependent child for whom no public education
                providing similar services is available.                                                                          $

      30        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                       $
                Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
      31        health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
                insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
                include payments for health insurance or health savings accounts listed in Line 34.                                                 $
                Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
      32        actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
                pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
                welfare or that of your dependents. Do not include any amount previously deducted.                                                  $
      33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                 $

                                                 Subpart B: Additional Living Expense Deductions
                                        Note: Do not include any expenses that you have listed in Lines 19-32
                Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
                the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
                dependents.
      34
                 a.         Health Insurance                                                $
                 b.         Disability Insurance                                            $
                 c.         Health Savings Account                                          $                                                       $
                Total and enter on Line 34.
                If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
                below:
                $
                Continued contributions to the care of household or family members. Enter the total average actual monthly
      35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
                ill, or disabled member of your household or member of your immediate family who is unable to pay for such
                expenses.                                                                                                                           $
                Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
      36        actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                        $
                Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
      37        Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
                trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
                claimed is reasonable and necessary.                                                                            $
                Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
                actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or secondary
      38        school by your dependent children less than 18 years of age. You must provide your case trustee with
                documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
                necessary and not already accounted for in the IRS Standards.                                                                       $
*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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           Case 6:11-bk-25782-MH                          Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                             Desc
                                                          Main Document    Page 44 of 49
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                          6

            Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
            expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39      Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
            or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
            reasonable and necessary.                                                                                             $

    40      Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
            financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                           $
    41      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                            $

                                                       Subpart C: Deductions for Debt Payment
            Future payments on secured claims. For each of your debts that is secured by an interest in property that you
            own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment,
    42      and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all
            amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the
            bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
            Average Monthly Payments on Line 42.
                  Name of Creditor                    Property Securing the Debt              Average Monthly Does payment
                                                                                                        Payment include taxes
                                                                                                                  or insurance?
              a.                                                                            $                        yes no
                                                                                                Total: Add Lines                  $
            Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
            motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43      your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
            payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
            sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
            the following chart. If necessary, list additional entries on a separate page.
                   Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
              a.                                                                              $
                                                                                                              Total: Add Lines    $
            Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44      priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
            not include current obligations, such as those set out in Line 28.                                                    $
            Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
            chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

             a.       Projected average monthly Chapter 13 plan payment.                    $
    45       b.       Current multiplier for your district as determined under schedules
                      issued by the Executive Office for United States Trustees. (This
                      information is available at www.usdoj.gov/ust/ or from the clerk of
                      the bankruptcy court.)                                                x
             c.       Average monthly administrative expense of Chapter 13 case             Total: Multiply Lines a and b         $
    46      Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                            $

                                                      Subpart D: Total Deductions from Income
    47      Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                           $

                                       Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                $
    49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                     $
    50      Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                      $

    51      60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
            result.                                                                                                               $




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               Case 6:11-bk-25782-MH                              Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                                                  Desc
                                                                  Main Document    Page 45 of 49
    B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                                                     7

                Initial presumption determination. Check the applicable box and proceed as directed.
                   The amount on Line 51 is less than $7,025*. Check the box for "The presumption does not arise" at the top of page 1 of this
                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
      52
                   The amount set forth on Line 51 is more than $11,725* Check the box for "The presumption arises" at the top of page 1 of this
                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                      The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines 53 through 55).
      53        Enter the amount of your total non-priority unsecured debt                                                                                    $
      54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                        $
                Secondary presumption determination. Check the applicable box and proceed as directed.
                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
      55        of this statement, and complete the verification in Part VIII.
                   The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
                of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                           Part VII. ADDITIONAL EXPENSE CLAIMS
      56        Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                you and your family and that you contend should be an additional deduction from your current monthly income under §
                707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
                each item. Total the expenses.

                         Expense Description                                                                                                     Monthly Amount
                 a.                                                                                                        $
                 b.                                                                                                        $
                 c.                                                                                                        $
                 d.                                                                                                        $
                                                                          Total: Add Lines a, b, c, and d                  $

                                                                          Part VIII. VERIFICATION
                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
                must sign.)
                              Date: May 27, 2011                                            Signature: /s/ Clayton C. Hawranik
                                                                                                         Clayton C. Hawranik
      57                                                                                                            (Debtor)

                                  Date:       May 27, 2011                                                    Signature        /s/ Rupali Hawranik
                                                                                                                                Rupali Hawranik
                                                                                                                                          (Joint Debtor, if any)




*   Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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          Case 6:11-bk-25782-MH                        Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28                   Desc
                                                       Main Document    Page 46 of 49
Verification of Creditor Mailing List - (Rev. 10/05)                                           2005 USBC, Central District of California


                                                MASTER MAILING LIST
                               Verification Pursuant to Local Bankruptcy Rule 1007-2(d)

Name              Rajiv Jain 231273

Address           9891 Irvine Center Drive, Ste. 110 Irvine, CA 92618

Telephone         949-379-7165 Fax: 949-379-7163

     Attorney for Debtor(s)
     Debtor in Pro Per

                                             UNITED STATES BANKRUPTCY COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
List all names including trade names used by Debtor(s)                                 6:11-bk-25782
                                                                         Case No.:
within last 8 years:
Clayton C. Hawranik                                                                    7
                                                                         Chapter:
Rupali Hawranik




                                          VERIFICATION OF CREDITOR MAILING LIST

The above named debtor(s), or debtor's attorney if applicable, do hereby certify under penalty of perjury that the attached
Master Mailing List of creditors, consisting of 3 sheet(s) is complete, correct, and consistent with the debtor's schedules
pursuant to Local Rule 1007-2(d) and I/we assume all responsibility for errors and omissions.

Date:     May 27, 2011                                       /s/ Clayton C. Hawranik
                                                             Clayton C. Hawranik
                                                             Signature of Debtor

Date:     May 27, 2011                                       /s/ Rupali Hawranik
                                                             Rupali Hawranik
                                                             Signature of Debtor

Date:     May 27, 2011                                       /s/ Rajiv Jain
                                                             Signature of Attorney
                                                             Rajiv Jain 231273
                                                             Jain & Soo-Hoo, PC, dba Bankruptcy Law Group
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                                                             Irvine, CA 92618
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    Case 6:11-bk-25782-MH   Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28   Desc
                            Main Document    Page 47 of 49


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Case 6:11-bk-25782-MH   Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28   Desc
                        Main Document    Page 48 of 49



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                    Norwalk, CT 06851


                    Mercedes Benz Financial
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                    Resource Capital
                    1050 Iron Point Road
                    Folsom, CA 95630


                    Wells Fargo
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                    Wells Fargo
                    PO Box 5445
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Case 6:11-bk-25782-MH   Doc 13 Filed 05/27/11 Entered 05/27/11 10:00:28   Desc
                        Main Document    Page 49 of 49



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